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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO . 18.CR.20376.1+


    UNITED STATES OF AM ERICA

    VS.

    M ARIA PILAR REVO REDO
    MARIABELENENRIQUEZIARRIGA,
    and PATRICIO PELL-RICHARDS

                       D efendants.
                                                  /

                   PROTECTIVE ORDER AUTHO RIZING AND REGULATING
          DISCLOSURE OF CONFIDENTIAL AND OTHER SENSITIVE INFORNB TION
            The U nited States of A m erica,having filed an unopposed m otion for a prctective order

    authorizing and regulating disclosure of personal identification inform ation and other sensitive

    inform ation,and the Courtbeing otherw ise duly inform ed:

            IT IS H EREBY ORD ERED that the U nited States is authorized to disclnse sensitive

    inform ation in its possession that the United States believes necessary to com ?ly with the

    discovery obligations im posed by thisCoul't;

            IT IS FU RTHER OR DERED that the U nited States shall identify that plll'tion of the

    discovery thatincludessensitiveinformation asStconfidential'',-

            IT IS FU RTH ER ORD ERED thatcounselof record forthe defendants in thisproceeding

    shall hold the Confidential portion of the discovery in strict confidence. Therefkh
                                                                                      re,defense
    counselshallrestrictaccess to the Discovery m m-ked as fsconfidential''to his orher 2kients, staff,

    investigators,and witnesses only (1)atcounsel's office and (2)to the extentdefflllse counsel
    believes is necessary to assistin the defense ofthis m atter;
Ca>e:1:18-
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            IT IS FURTHER ORDERED thatcounselofrecord forthe defendants shaladvise any

     person to w hom the Confidentialportion ofthe discovery isdisclosed thatsuch infol'
                                                                                       rnation shall

     be held in strict confidence,and that further disclosure or dissem ination is prohit,
                                                                                         ited w ithout

     defense counsel's express consent;and

            IT IS FU RTH ER ORD ERED that counsel of record for the defendants sllall obtain a

    certification from each person to whom the Confidentialportion of the discovery is disclosed, in

    which the recipient,(a)acknowledgesthese restrictionsassetforth in the Protective (lrderofthe

    Court,and (b)agreesthatthey willnotdisclose ordissem inate the information witioutexpress
    consent of defense counsel. Counsel shall keep a copy of each certification to identify the

    individuals who received the C onfidential portion of the discovery and the date on which such

    inform ation w asfirstdisclosed.

            IT IS FU RTH ER O RDERED that counsel of record agree that,upon conclusion of the

    above captioned case,1 copies of the Confidential portion of the discovery disclosed to defense

    counselpursuantto the term softhis ordershallbe destroyed orreturned to the U nite:lStates.

            DO NE AN D O RDERED in cham bers atM iam i,Florida,this      / ayofJune2018.
                                                                         -              ,




                                         H ON O RA BLE U RSULA   G AR O
                                         U NITED STATES D ISTRICT C OU RT JUD G I!

           Counselofrecord




    lThisshallmean theperiod attheconclusion ofany appellate and Section 2255 proceedings Lfany, or
    upon expiration ofthe deadline forfiling appellateorSection 2255 proceedings.
                                                       2
